




Dismissed and Memorandum Opinion filed December 7, 2006








Dismissed
and Memorandum Opinion filed December 7, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00846-CV

____________

&nbsp;

BEATRIZ MITCHISON,
Appellant

&nbsp;

V.

&nbsp;

STATE FARM BANK, F.S.B.,
Appellee

&nbsp;



&nbsp;

On Appeal from the 281st District
Court

Harris County, Texas

Trial Court Cause No.
2005-45721

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

This
appeal is from a judgment signed August 16, 2006.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 

On
October 20, 2006, notification was transmitted to all parties of the Court's
intent to dismiss the appeal for want of prosecution unless, within fifteen
days, appellant paid or made arrangements to pay for the record and provided
this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant
filed no response.

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
December 7, 2006.

Panel consists of Justices Frost, Seymore, and Guzman.

&nbsp;





